Case 2:09-cv-06244-WJM-MF          Document 31        Filed 08/19/10     Page 1 of 9 PageID: 401




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



 E M E R G E N C Y PH Y SIC IA N S         OF     ST.      Civil Action Number: 2:09-6244
 CLARE’S, LLC, et al.,

       Plaintiffs,

 v.                                                                    OPINION

 PROASSURANCE CORPORATION, et al.,                         HON. WILLIAM J. MARTINI

       Defendants.




                                 MEMORANDUM OPINION

 I.     INTRODUCTION

         Plaintiffs, three group medical practices located in New Jersey, have brought a
 diversity action alleging fraud and other state law causes of action against Defendant
 ProAssurance Casualty Company, their provider of medical malpractice insurance, and
 affiliated entities. Specifically, Plaintiffs assert three causes of action: (1) Count I – the New
 Jersey Consumer Fraud Act (“NJCFA”); Count II – common law breach of contract; and
 Count III – accounting and unjust enrichment.

         A “claims-made” policy covers the policyholder for alleged incidents of malpractice
 that occur on or after the applicable coverage date and are first reported during the policy
 period. At the time the claims-made policy expires, a policyholder may renew coverage for
 an additional term, or, purchase an ERP endorsement providing “tail coverage” for alleged
 incidents of malpractice that occurred during a prior coverage period, but are first reported
 after the claims-made policy period has ended. The gravamen of the Plaintiffs’ claim is that
 when Plaintiffs purchased Extended Reporting Period (“ERP”) coverage, they were charged
 in excess of the “filed rate” (that is, the rate on file with the N.J. Department of Banking and
 Insurance at the time the ERP became effective). Plaintiffs seek to vindicate their own
 interests and to bring this action on behalf of two classes: similarly situated New Jersey
 plaintiffs and on behalf of putative plaintiffs nationally. Defendants have filed a Motion to
 Compel Arbitration or, in the Alternative to Dismiss the Complaint (the “Motion”).
Case 2:09-cv-06244-WJM-MF          Document 31       Filed 08/19/10      Page 2 of 9 PageID: 402




         Having considered the Motion, the Court, for the reasons elaborated below, will
 GRANT Defendants’ Motion to Compel Arbitration. This Court will order this action to
 ARBITRATION. Finally, this action will be administratively STAYED pending arbitration
 or further Court order. See DiGeronimo, P.A. v. John Cullinane & Asso., 2008 WL 5109743,
 at *3 (D.N.J. Dec. 2, 2008).

 II.    FACTUAL BACKGROUND ALLEGED IN THE COMPLAINT

        Plaintiffs, three New Jersey-based group medical practices, purchased ERP
 Endorsements to insurance polices, so called “tail coverage,” which extends the reporting
 time for coverage of a claim of alleged medical malpractice that occurred during the policy
 coverage period. Plaintiffs allege that they were overcharged by ProAssurance Casualty, the
 entity which sold the ERPs. The primary allegation is that Plaintiffs had a right “to purchase
 an ERP at rates in effect on the date of termination of their policies ... but that instead of
 charging those rates ... defendants charged plaintiffs the rate applying to ERP endorsements
 attaching to policies written after plaintiffs’ policies [had] terminated.” Opp’n Br. 10. The
 rate charged was allegedly higher than the rate Defendants had put on file with the State of
 New Jersey. Id. Plaintiffs allege fraud, breach of contract, and unjust enrichment under state
 law. Jurisdiction is based on diversity. See 28 U.S.C. § 1332.1

         Plaintiffs seek relief on their own behalf on behalf of other similarly situated parties.
 Plaintiffs seek to represent both a class of New Jersey plaintiffs who purchased ERP
 endorsements (and whose policies terminated in 2003, 2004, and 2005), and a national class
 who purchased ERP endorsements (and whose policies, likewise, terminated in 2003, 2004,
 and 2005).




        1
          Each of the named Defendant entities appears to be a corporation. Two of the named
 Plaintiffs appear to be corporations. For diversity purposes, a corporation is a citizen of the
 state where it is incorporated and of the state where it has its principal place of business. 28
 U.S.C. § 1332(c). These five entities appear to be diverse. However, Emergency Physicians
 of St. Clare’s is not a corporation. It is a limited liability company or “LLC”. The Third
 Circuit has recently announced that “the citizenship of an LLC is determined by the
 citizenship of each of its members.” Zambelli Fireworks Mfg. Co., Inc. v. Wood, 592 F.3d
 412, 418 (3d Cir. Jan. 15, 2010) (emphasis added). Plaintiffs have put forward an affidavit
 establishing the citizenship of the LLC’s members. Each member is diverse from each
 Defendant.


                                                2
Case 2:09-cv-06244-WJM-MF          Document 31       Filed 08/19/10     Page 3 of 9 PageID: 403




 III.   STANDARD OF REVIEW

         Motions to compel arbitration are reviewed under the Rule 56(c) standard for
 summary judgment. Fed. R. Civ. P. 56(c); Hunish v. Assisted Living Concepts, Inc., 2010 WL
 1838427 (D.N.J. May 6, 2010); Markel Int’l Ins. Co. v. Westchester Fire Ins. Co., 442 F.
 Supp. 2d 200, 202 (D.N.J. 2006). Summary judgment is appropriate if the “if the pleadings,
 the discovery [including, depositions, answers to interrogatories, and admissions on file] and
 disclosure materials on file, and any affidavits show that there is no genuine issue as to any
 material fact and that the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); Turner v.
 Schering-Plough Corp., 901 F.2d 335, 340 (3d Cir. 1990). A factual dispute is genuine if a
 reasonable jury could find for the non-moving party, and is material if it will affect the
 outcome of the trial under governing substantive law. Anderson v. Liberty Lobby, Inc., 477
 U.S. 242, 248 (1986). The summary judgment stage, “the judge’s function is not himself to
 weigh the evidence and determine the truth of the matter but to determine whether there is
 a genuine issue for trial.” Anderson, 477 U.S. at 249; see also Marino v. Indus. Crating Co.,
 358 F.3d 241, 247 (3d Cir. 2004) (explaining that a court may not weigh the evidence or
 make credibility determinations). Rather, the court must consider all evidence and inferences
 drawn therefrom in the light most favorable to the non-moving party. Andreoli v. Gates, 482
 F.3d 641, 647 (3d Cir. 2007).

         To prevail on summary judgment, the moving party must affirmatively identify those
 portions of the record which demonstrate the absence of a genuine issue of material fact.
 Celotex, 477 U.S. at 323-24. The moving party can discharge the burden by showing that “on
 all the essential elements of its case on which it bears the burden of proof at trial, no
 reasonable jury could find for the non-moving party.” In re Bressman, 327 F.3d 229, 238 (3d
 Cir. 2003); see also Celotex, 477 U.S. at 325. If the moving party meets this initial burden,
 the non-moving party “must do more than simply show that there is some metaphysical doubt
 as to material facts,” but must show sufficient evidence to support a jury verdict in its favor.
 Boyle v. County of Allegheny, 139 F.3d 386, 393 (3d Cir. 1998) (quoting Matsushita Elec.
 Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986)). However, if the non-moving
 party “fails to make a showing sufficient to establish the existence of an element essential
 to [the non-movant’s] case, and on which [the non-movant] will bear the burden of proof at
 trial,” Rule 56 mandates the entry of summary judgment because such a failure “necessarily
 renders all other facts immaterial.” Celotex Corp., 477 U.S. at 322-23; Jakimas v.
 Hoffman-La Roche, Inc., 485 F.3d 770, 777 (3d Cir. 2007).

        If the nonmoving party has the burden of proof at trial, the party moving for summary
 judgment is not required to “support its motion with affidavits or other similar material
 negating the opponent’s claim,” Celotex, 477 U.S. at 323, in order to discharge this “initial

                                                3
Case 2:09-cv-06244-WJM-MF          Document 31       Filed 08/19/10     Page 4 of 9 PageID: 404




 responsibility.” In this situation, the movant “[merely] show[s] – that is, point[s] out to the
 district court – that there is an absence of evidence to support the nonmoving party’s case.”
 Id. at 324.

         In deciding whether a controversy must be submitted to arbitration, a court makes two
 inquiries. First, did the parties agree to arbitrate their claims? And, second, does the instant
 dispute fall within the scope of the arbitration agreement. See Mitsubishi Motors Corp. v.
 Soler Chrysler-Plymouth, Inc., 473 U.S. 614 (1985); Hilinski v. Gordon Terminal Serv. Co.
 of N.J., Inc., 265 Fed. Appx. 66, 68-69 (3d Cir. 2008). Furthermore, federal policy favors the
 arbitration of disputes. See Moses H. Cohen Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24
 (1983).

 IV.    ANALYSIS

         In determining whether the parties agreed to arbitrate their claim, the Court turns to
 state contract law. As their briefs’ demonstrate, both parties have assumed that New Jersey
 law applies. This appears to be the effect of the “Governing Law” provision within the
 polices. See Dinger Decl., Ex. A. ¶ 14 (July 22, 2010). Likewise the policies have an
 arbitration provision which provides:

        XIII. ARBITRATION. Any dispute, claim or controversy arising out of,
        relating to or in connection with this policy, its subject matter or its
        negotiation, as to the existence, validity, interpretation, performance, non-
        performance, enforcement, operation, breach of contract, breach of warranty,
        continuance or termination, thereof or any claim alleging fraud, deceit, or
        suppression of any material fact or breach of fiduciary duty shall be submitted
        to binding arbitration in accordance with Title 9 U.S.C. § 1 et seq.... The
        provisions hereof shall be a complete defense to any suit, action, or proceeding
        in any federal, state or local court or before any administrative tribunal with
        respect to any dispute, claim or controversy arising under this policy.

 Id. ¶ 13. Plaintiffs do no dispute that this provision was part of the text of the policy
 agreement, but dispute its validity or enforceability under state law. Plaintiffs argue that the
 arbitration provision is not enforceable because the contract is an unconscionable contract
 of adhesion. Plaintiffs also argue that under state law a general arbitration provision, absent
 more specific references to the relevant statutory causes of action and to the jury trial right
 to be waived, are not enforceable. Finally, Plaintiffs argue that the arbitration provision
 cannot be enforced because the costs of arbitration effectively bar their ability to vindicate
 their rights.



                                                4
Case 2:09-cv-06244-WJM-MF          Document 31       Filed 08/19/10      Page 5 of 9 PageID: 405




        A.     Unconscionable Contract of Adhesion

        Plaintiffs argue that the arbitration provision should be set aside because New Jersey
 courts have held that insurance contracts are contracts of adhesion. In President v. Jenkins,
 853 A.2d 247 (N.J. 2004), the Supreme Court of New Jersey held:

               When interpreting an insurance policy, courts should give the policy’s
        words their plain, ordinary meaning. If the policy terms are clear, courts should
        interpret the policy as written and avoid writing a better insurance policy than
        the one purchased. Nevertheless, we recognize that an insurance policy is a
        contract of adhesion between parties who are not equally situated. Such
        policies are often prepared unilaterally by the insurer, and have always been
        subjected to careful judicial scrutiny to avoid injury to the public. Moreover,
        policies are frequently not read by the insured, whose understanding is often
        impeded by the complex terminology used in the standardized forms.

                When an insurance policy’s language fairly supports two meanings, one
        that favors the insurer, and the other that favors the insured, the policy should
        be construed to sustain coverage. In other words, when an ambiguity exists
        within an insurance contract, courts should interpret the contract to comport
        with the reasonable expectations of the insured.

 Id. at 254 (citations omitted). The Jenkins court did not hold that because an insurance
 contract is a contract of adhesion it will not be enforced; but rather, if a plaintiff can point
 to an ambiguity in contract language, the courts will play a vigilant role, scrutinize the
 contract, in order to sustain an insured’s reasonable expectations, and to sustain coverage.
 In this case, Plaintiffs do not point to any contract ambiguity; thus, the line of New Jersey
 cases holding that insurance contracts are contracts of adhesion does not squarely apply.
 Likewise, even if Plaintiffs did point to a contract ambiguity, this particular doctrine is
 generally used in the context of a disputes going to the extent of coverage, not to ancillary
 provisions such as those relating to arbitration. Additionally, it must be added that the dispute
 in Jenkins related to a contract between a single doctor and his insurer. Here, by contrast, the
 contract is between an insurer and a group practice making use of the corporate form (or the
 LLC form). Cf. Assicurazioni Generali, S.P.A. v. Clover, 195 F.3d 161, 165(3d Cir. 1999)
 (“When, as in this case, a business entity such as Intrenet obtains a group insurance contract
 that applies to individuals in various states, both the insurer and the organization have an
 arguable interest in establishing uniform procedures by specifying a particular state’s law to
 apply to future disputes.” (emphasis added)). To characterize these plaintiffs as
 unsophisticated parties (as in Jenkins) seems forced at best. Finally, New Jersey’s courts have
 regularly held that non-negotiated mandatory arbitration provisions in insurance contracts –

                                                5
Case 2:09-cv-06244-WJM-MF          Document 31        Filed 08/19/10     Page 6 of 9 PageID: 406




 even if contracts of adhesion – are enforceable. See Defilippis v. Prudential Property & Cas.
 Ins. Co., 2007 WL 1485182, at *1-2 (N.J. Super. App. Div. May 23, 2007) (enforcing, post-
 Jenkins, insurance contract’s arbitration provision).

         Plaintiffs argue that the policy’s arbitration provision was unconscionable under state
 law. “In determining whether to enforce the terms of a contract of adhesion, courts have
 looked not only to the take-it-or-leave-it nature or the standardized form of the document but
 also to the subject matter of the contract, the parties’ relative bargaining positions, the degree
 of economic compulsion motivating the ‘adhering’ party, and the public interests affected by
 the contract.” Rudbart v. North Jersey Dist. Water Supply Comm’n, 605 A.2d 681, 687 (N.J.
 1992). As to significant public interests at stake, the Plaintiffs point to the public policy
 interests motivating passage of the NJCFA.. But as the New Jersey Supreme Court has
 explained: “The [Appellate Division] in [Gras v. Assocs. First Capital Co., 786 A.2d 886
 (2001)] found that there was no ‘inherent conflict ... between arbitration and the underlying
 purpose of [the NJCFA],’ and we agree.” Muhammad v. County Bank of Rehoboth Beach,
 Del., 912 A.2d 88, 101 (N.J. 2006). Thus this factor does not lean towards finding
 unconscionability. Plaintiffs also assert that the bargaining power between the parties was
 unequal, and that they had “few alternatives other than to purchase tail coverage at the prices
 charged by Defendants.” Opp’n Br. 15 (emphasis added). But cf. id. (asserting that
 Defendants had “a monopoly in selling tail coverage for its policies” (emphasis added)).
 Even if taken as true, this is not a sufficient reason to set aside the express terms of the
 contract. To suggest that Plaintiffs had a “few alternatives” is to state that they had, in fact,
 other alternatives. Cf. Ind. Grocery Co., Inc. v. Super Valu Stores, Inc., 684 F. Supp. 561,
 579 (S.D. Ind. 1988) (finding no “dangerous probability” of market leader imposing
 monopolistic pricing where the market had “at least three strong players”). Moreover,
 unequal bargaining power between parties and an asserted differential in sophistication may
 lead to a finding of unconscionability if that power has been used to select a dispute-
 resolution mechanism that favors the insurer-drafter. But there is no such showing here. See
 Johnson v. West Suburban Bank, 225 F.3d 366, 378 n.5 (3d Cir. 2000) (noting that an
 arbitration provision of a contract of adhesion will be set aside based on a showing that it was
 fraudulently induced or unconscionable, e.g., it favors one party over another, or it is
 oppressive). Finally, Plaintiffs argue that they were economically compelled to accept the
 terms of the agreement and therefore the arbitration provision is unconscionable, and further
 assert that Plaintiff had a monopoly in regard to “tail coverage for its policies.” Opp’n Br.
 15. This last factual claim is not alleged in the complaint and Plaintiffs make no proffer as
 to what evidence they might introduce to support it. Even assuming that Plaintiffs could
 make a sufficient showing in regard to this factor, in balancing all the factors, the Court
 concludes that the policy agreement was not unconscionable.




                                                 6
Case 2:09-cv-06244-WJM-MF          Document 31       Filed 08/19/10      Page 7 of 9 PageID: 407




        B.     Waiver

        Plaintiffs argue that the arbitration provision is unenforceable because it does not
 contain a valid waiver.

        In Alamo Rent A Car, Inc. v. Galarza, 703 A.2d 961 (N.J. Super. Ct. App. Div. 1997),
 the court held that

        The ‘any dispute’ language [in an arbitration provision] is the very least an
        employer needs to utilize in order to guarantee arbitration of all disputes
        [between an employer and employee]. The better course would be the use of
        language reflecting that the employee, in fact, knows that other options such
        as federal and state administrative remedies and judicial remedies exist; that
        the employee also knows that by signing the contract, those remedies are
        forever precluded; and that, regardless of the nature of the employee’s
        complaint, he or she knows that it can only be resolved by arbitration.

 Id. at 966. The contested arbitration provision at issue here meets this standard. The
 arbitration provision reaches

        Any dispute, claim or controversy arising out of, relating to or in connection
        with this policy ... [including] breach of contract ... or any claim alleging fraud
        ... shall be submitted to binding arbitration .... The provisions hereof shall be
        a complete defense to any suit, action, or proceeding in any federal, state or
        local court or before any administrative tribunal with respect to any dispute,
        claim or controversy arising under this policy.

 Dinger Decl., Ex. A. ¶ 13 (emphasis added). Thus, it (1) uses the “any dispute” language
 preferred by the New Jersey courts (and actually uses that language twice); (2) puts the
 insured on express notice that it waiving judicial remedies in regard to contract and fraud
 claims, the precise sort of claims at issue here;2 and (3) puts the insured on notice that it is
 waiving federal, state, and administrative judicial forums in favor of arbitration.




        2
          In addition to a common law breach of contract claim and the NJCFA claim,
 Plaintiffs make an unjust enrichment claim. However, “[u]njust enrichment is not an
 independent theory of liability, but is the basis for a claim of quasi-contractual liability.”
 Nat’l Amusements, Inc. v. N.J. Turnpike. Auth., 619 A.2d 262 (N.J. Super. Ct. Law Div.
 1992), aff’d, 645 A.2d 1194 (App. Div.), certif. denied, 649 A.2d 1288 (1994).

                                                7
Case 2:09-cv-06244-WJM-MF           Document 31        Filed 08/19/10      Page 8 of 9 PageID: 408




          Plaintiffs argue that the arbitration provision at issue here is not enforceable because
 it fails to clearly waive statutory rights generally, fails to specifically waive state statutory
 rights, and fails to waive rights under the NJCFA. The New Jersey courts do not require
 express waiver or the use of a particular set of words in regard to effectuating valid waiver.
 Rather, an arbitration provision will be held if it is “clear and unambiguous, [and] sufficiently
 broad to encompass reasonably plaintiff's statutory causes of action.” Martindale v. Sandvik,
 Inc., 800 A.2d 872, 883 (2002). An arbitration provision will be upheld if it fairly
 encompasses “either expressly or by general reference, statutory claims redressable by the
 [plaintiff’s cause of action].” Garfinkel v. Morristown Obstetrics & Gynecology Associates,
 P.A., 773 A.2d 665, 672 (N.J. 2001) (emphasis added); see also Kuhn v. Terminix Intern.
 Co., L.P., 2008 WL 1987432, at *2 (N.J. Super. Ct. App. Div. May 9, 2008) (holding that “to
 be enforceable, such arbitration provisions must provide that by signing, the consumer agrees
 to arbitrate ‘all statutory claims arising out of the relationship,’ ‘any claim or dispute based
 on a federal or state statute,’ or contain similar language reflecting a general understanding
 of the type of claims included in the waiver” (emphasis added)). Although the arbitration
 provision at issue here does not expressly mention either the NJCFA or state statutory causes
 of action as a class, it does generally reference fraud claims as a class, which would seem to
 include state statutory fraud claims. Likewise, the provision expressly cuts off access to state
 courts in favor of arbitration. If express language providing for arbitration in connection with
 federal and state statutory causes of action will be upheld, then it seems to follow that where
 a party has signed a provision waiving access to federal, state, local, and administrative
 forums in favor of arbitration that such a provision should also be withheld. If anything the
 latter type of provision, like the provision at issue here, is broader and, arguably, less
 technical, then the former type of provision.

         Finally, Plaintiffs argue that the arbitration provision is unenforceable absent an
 express waiver of the right to a jury trial. See Kuhn, 2008 WL 1987432, at *2 (refusing to
 enforce arbitration provision where the provision “does not inform the consumers they have
 waived their statutory rights or their right to a jury trial”). Kuhn is neither controlling, nor on-
 point. In Kuhn, the court held that the contract neither specified the class of claim subject to
 arbitration, nor did it provide a waiver of the jury right. By contrast, this Court has already
 held that the arbitration provision in the policy agreement does sufficiently specify the class
 of causes of action subject to waiver; however, the policy agreement does not expressly
 waive the jury right. Thus, the waiver provision in this contract is better drafted than the one
 at issue in Kuhn (in which the arbitration provision was not enforced), but it is not as well
 drafted as the one at issue in Martindale (enforcing the arbitration provision where the jury
 right was expressly waived). Neither party has pointed to a New Jersey case on these precise
 facts, much less a case decided by the New Jersey Supreme Court, which is controlling for
 these purposes. Although the matter is capable of doubt, this Court predicts that if faced with
 these facts, the New Jersey Supreme Court would uphold the arbitration provision. First, such

                                                  8
Case 2:09-cv-06244-WJM-MF          Document 31        Filed 08/19/10     Page 9 of 9 PageID: 409




 a holding comports with the public policy favoring arbitration. Second, the provision barring
 access to federal, state, and municipal courts in favor of arbitration puts a party on notice that
 it will lose access to the jury right. Even a person of common knowledge, but without higher
 formal education, might very well understand that if one waives access to a court, one has
 waived access to a jury. In so holding, the Court is taking into account the reasonable
 expectations of the insureds here. And, third, the waiver provision here was one Plaintiffs
 had seen before in prior policies (issued by these Defendants), it made use of straight
 forward nontechnical language, and it appeared in the same size font as the surrounding
 provisions. Aamco Transmissions, Inc. v. Harris, 1990 WL 83336, at *2 (E.D. Pa. June 18,
 1990) (finding a waiver provision printed in the same size as the rest of agreement to be
 conspicuous).

        C.      Arbitration Fees

         Plaintiffs argue that the arbitration provision is unconscionable because the costs
 associated with arbitration may prevent Plaintiffs from vindicating their rights. See Parilla
 v. IAP Worldwide Servs. VI, Inc., 368 F.3d 269, 283-85 (3d Cir. 2004). Here, Plaintiffs assert
 that their fees “could easily exceed $60,000,” Opp’n Br. 24, but they put forward no evidence
 and they make no proffer (even in the complaint) tending to establish their “inability to pay
 those costs.” Parilla, 368 F.3d at 284.

 V.     CONCLUSION

        For the reasons elaborated above, the Court GRANTS Defendants’ Motion to Compel
 Arbitration. This action is ordered to ARBITRATION. Finally, this action is
 administratively STAYED pending arbitration or further Court order.

        An appropriate order accompanies this memorandum opinion.

                                                     s/ William J. Martini
 DATE: August 19, 2010                               William J. Martini, U.S.D.J.




                                                 9
